
USCA1 Opinion

	










          September 3, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


        No. 95-2366


                                  CHUKWU E. AZUBUKO,

                                Plaintiff, Appellant,

                                          v.

                           THE REGISTRAR OF MOTOR VEHICLES,

                                 Defendant, Appellee.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Selya, Cyr and Boudin,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Chukwu E. Azubuko on brief pro se.
            _________________
            Scott   Harshbarger,  Attorney  General,  and   Beverly  R.  Roby,
            ___________________                             _________________
        Assistant Attorney General, on brief for appellee.


                                 ____________________


                                 ____________________





                      Per Curiam.  Appellant Chukwu  Azubuko appeals from
                      __________















            the  dismissal  of  his complaint  pursuant  to  28 U.S.C.   

            1915(d).  We agree with the district court, for the reason it

            gave,  that appellant cannot premise a right of action on the

            criminal statutes he cited.   We affirm the dismissal  of the

            complaint as to  the rest of appellant's  claims, however, on

            reasons  different than  those  relied upon  by the  district

            court.

                      Appellant asserts  that  his driver's  license  was

            suspended  by the  Registrar  of Motor  Vehicles without  due

            process in violation of the Fourteenth Amendment.  In Bell v.
                                                                  ____

            Burson,  402 U.S. 535 (1971), the Supreme Court addressed the
            ______

            question in what circumstances a hearing is required prior to

            the suspension  of a driver's license.   Georgia law provided

            for  the  suspension  of  an  uninsured  motorist's  driver's

            license  when  that  driver  was involved  in  an  automobile

            accident and could not  post security to cover the  amount of

            damages claimed by others in the accident report.  Although a

            hearing was conducted prior  to the suspension, the uninsured

            motorist could not raise  the issue of fault.   Thus, such  a

            motorist was required  to post  security or lose  his or  her

            license even though he or she might not have been responsible

            for the accident.

                      The Court held that once a state granted a driver's

            license, it could  not take  it away without  due process  of

            law.   Id. at  539.   It then  held that since  fault was  an
                   ___



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            important factor in  the decision to  suspend a license,  due

            process  required a  predeprivation hearing  which considered

            whether  there  was  a  reasonable  probability  of judgments

            against the driver in the amounts claimed.  Id. at 540-41.
                                                        ___

                      In  the  case  before us,  appellant's  license was

            suspended  after a trial in which  appellant was found liable

            for  the damages  resulting from  the automobile  accident in

            which he was involved.   Thus, unlike Bell -- where there was
                                                  ____

            no  predeprivation hearing  regarding liability  -- appellant
            __

            received a full, judicial adjudication regarding fault before
                                                                   ______

            his license  was suspended  for failing to  pay the  judgment

            rendered at the trial.  Moreover, M.G.L.c. 90,   22A provides

            for  another,  administrative  hearing prior  to  the  actual

            suspension.   The  Court of  Appeals for  the Fourth  Circuit

            found  constitutional a statutory scheme similar    22A  even

            though   it   did   not   provide   for   an   administrative
                                ___

            predeprivation hearing.  See Tomai-Minogue v. State Farm Mut.
                                     ___ _____________    _______________

            Auto. Ins. Co., 770 F.2d 1228, 1230 (4th Cir. 1985).  Thus,  
            ______________

            22A itself appears to provide all that due process requires.

                      Appellant also  claims that  the suspension  of his

            license impaired his fundamental right to travel and violated

            the equal protection clause of the Fourteenth Amendment.   We

            reject  both  challenges.   See Ross v.  Gunaris, 395 F.Supp.
                                        ___ ____     _______

            623, 627-28 (D.Mass. 1975)  (  22A does not impede  the right

            to   travel   because   it   limits  only   one   method   of



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            transportation, nor does it deny equal  protection of the law

            to those unable to satisfy a property damage judgment).

                      For these reasons, appellant's claims, as set forth

            in  both his  complaint and amended  complaint, are  based on

            "indisputably   meritless  theor[ies]."     See   Neitzke  v.
                                                        ___   _______

            Williams,  490  U.S.  319, 327  (1989).    As  a result,  the
            ________

            district court appropriately dismissed the action.

                      The judgment of the district court is affirmed.  In
                                                            ________

            so ruling, we decide only the appeal from district court case

            No.  95-CV-10763.  No notice  of appeal was  ever docketed in

            No. 95-CV-11661 and, thus, the later case is not before us.































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